                                Case 18-20421         Doc 6      Filed 08/08/18      Page 1 of 1

                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                              at Baltimore
                                      In re:    Case No.: 18−20421 − MMH           Chapter: 7

Jamiu Lawal
Debtor


                                               DEFICIENCY NOTICE
DOCUMENT:                  1 − Chapter 7 Voluntary Petition Individual. Fee Amount $335 Filed by JAMIU LAWAL.
                           Section 521(i)(1) Incomplete Filing date: 09/21/2018. (Onukwugha, Chidiebere)

PROBLEM:                   The following items are deficient for the above pleading, and must be cured by 8/22/18.

                           The addresses for the creditors was not provide on the Creditor matrix.

CURE:                      File an amended creditor matrix to include the addresses for the listed creditors.

CONSEQUENCE: Failure to cure the problem(s) by the date above may result in the pleading being stricken or
             other action the Court deems appropriate without further notice. For a proposed order, the failure
             to cure the problem(s) may result in the relief sought being denied for want of prosecution.


Additional information on filing requirements: http://www.mdb.uscourts.gov/content/filing−requirements.
Additional information for non−attorney filers: http://www.mdb.uscourts.gov/content/after−filing.

Dated: 8/8/18
                                                                  Mark A. Neal, Clerk of Court
                                                                  by Deputy Clerk, Daniel Walston
                                                                  301−344−3496
cc:    Debtor
       Attorney for Debtor − Chidiebere Onukwugha

defntc (rev. 12/12/2016)
